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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION
                                   www.flnb.uscourts.gov


In Re:                                                 Chapter 11

ADVANCED SAWMILL MACHINERY, INC.,                      Case No.: 21-30612-JCO

      Debtor.
_________________________________/


             CREDITOR, CIT BANK, N.A.’S CERTIFICATE OF SERVICE OF
              VERIFIED MOTION FOR RELIEF FROM AUTOMATIC STAY
         OR, IN THE ALTERNATIVE, FOR ADEQUATE PROTECTION (DOC. 35)


         Creditor, CIT BANK, N.A., ("CIT"), by and through its undersigned counsel, hereby certifies

that on October 7, 2021, it electronically filed its Verified Motion for Relief from Automatic Stay or,

in the Alternative for Adequate Protection (Doc. 35) with the Clerk of the United States Bankruptcy

Court for the Northern District of Florida by using the CM/ECF system and that it furnished a copy

of said Motion to the parties listed below in the manner indicated.



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Via CM/ECF
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Rule 1007-2 parties on the attached matrix designated to receive notice via CM/ECF

Via U.S. Mail
Advanced Sawmill Machinery, Inc.
481 Machinery Circle
Holt, Florida 32654

Rule 1007-2 parties in interest on the attached matrix not designated to receive notice via CM/ECF
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